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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                  §
                                                  §
In re:                                            §         Chapter 11
                                                  §
4 West Holdings, Inc. et al.,                     §         Case No. 18-30777
                                                  §
               Debtors.                           §         (Joint Administration Requested)
                                                  §
                                                  §

                                   NOTICE OF APPEARANCE

         Please take notice that the following attorneys hereby enter an appearance as counsel of

record in the above-captioned case for OHI Asset RO, LLC, and request that all notices given or

required to be given, and all papers served or required to be served in the case, be given to and

served upon:

                             Keith M. Aurzada (TX Bar No. 24009880)
                             Michael P. Cooley (TX Bar No. 24034388)
                           Mark Duedall (admission pro hac vice pending)
                       Leah Fiorenza McNeill (admission pro hac vice pending)
                           David Unseth (admission pro hac vice pending)
                                         BRYAN CAVE LLP
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                                     dmunseth@bryancave.com

         Pursuant to 11 U.S.C. § 1109(b), the foregoing request includes notices and papers

referred to in the Bankruptcy Rules and additionally includes, without limitation, notices of any

application, complaint, demand, hearing, motion, order, pleading or other request, formal or

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informal, whether transmitted or conveyed by mail, telephone or otherwise. Further, OHI Asset

RO, LLC, requests that it be provided with a copy of any disclosure statement to be submitted

prior to its approval and any and all plans of reorganization.

        OHI Asset RO, LLC additionally requests that the Debtor and the Clerk of the Court

place the foregoing names and addresses on any mailing matrix or list of creditors to be prepared

or existing in the above-captioned case.

        Respectfully submitted this 6th day of March, 2018.


                                                  BRYAN CAVE LLP

                                                  By: /s/ Michael Cooley                .
                                                      Keith Aurzada (TX Bar No. 24009880)
                                                      Michael Cooley (TX Bar No. 24034388)
                                                  JP Morgan Chase Tower
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                                                  michael.cooley@bryancave.com

                                                  Attorneys for OHI Asset RO, LLC, and its
                                                  affiliates



                                 CERTIFICATE OF SERVICE

     I hereby certify that on March 6, 2018, a copy of the foregoing was served via the Court’s
EM/ECF electronic system to all parties consenting to service through same.

                                                  /s/ Michael Cooley                        .
                                                      Michael Cooley




Notice of Appearance                                                                      Page 2
